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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CRIMINAL ACTION NO. 1:20-CR-10111-RWZ

UNITED STATES OF AMERICA
V.

CHARLES LIEBER

VERDICT FORM
December 21, 2021
WE, THE JURY, FIND THE DEFENDANT, CHARLES LIEBER:

ON COUNT ONE OF THE SUPERSEDING INDICTMENT

(False Statements)

x GUILTY NOT GUILTY

ON COUNT TWO OF THE SUPERSEDING INDICTMENT

(False Statements)

X GUILTY NOT GUILTY
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ON COUNT THREE OF THE SUPERSEDING INDICTMENT

(Filing False Tax Returns)

x GUILTY NOT GUILTY

ON COUNT FOUR OF THE SUPERSEDING INDICTMENT
(Filing False Tax Returns)
X___ GUILTY NOT GUILTY
ON COUNT FIVE OF THE SUPERSEDING INDICTMENT
(Failure to File Reports of Foreign Bank and Financial Account)
X____ GUILTY NOT GUILTY

ON COUNT SIX OF THE SUPERSEDING INDICTMENT

(Failure to File Reports of Foreign Bank and Financial Account)

 

 

GUILTY NOT GUILTY
\ Ja\ Jdoal I Chl
DATE FOREPERSON’S SIGNATURE
